
Healthy Way Acupuncture, P.C., as Assignee of Elsie Cambero, Appellant,
againstState Farm Mutual Automobile Ins. Co., Respondent.




Gary Tsirelman, P.C. (David M. Gottlieb, Esq.), for appellant.
Rivkin Radler, LLP (Stuart M. Bodoff, Esq.), for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Queens County (Maureen A. Healy, J.), entered July 11, 2013. The order, insofar as appealed from as limited by the brief, granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals, as limited by its brief, from so much of an order of the Civil Court as granted defendant's motion for summary judgment dismissing the complaint based on plaintiff's failure to appear for duly scheduled examinations under oath (EUOs).
Contrary to plaintiff's contention, defendant sufficiently established plaintiff's failure to appear for two scheduled EUOs (see e.g. T &amp; J Chiropractic, P.C. v State Farm Mut. Auto. Ins. Co., 47 Misc 3d 130[A], 2015 NY Slip Op 50406[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]). Plaintiff's remaining contentions lack merit (see Interboro Ins. Co. v Clennon, 113 AD3d 596 [2014]; Palafox PT, P.C. v State Farm Mut. Auto. Ins. Co., 49 Misc 3d 144[A], 2015 NY Slip Op 51653[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]; T &amp; J Chiropractic, P.C., 47 Misc 3d 130[A], 2015 NY Slip Op 50406[U]).
Accordingly, the order, insofar as appealed from, is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: December 22, 2017










